Case: 4:19-cr-O0806-SNLJ Doc. #: 52 Filed: 03/17/21 Page: 1 of 2 PagelD #: 215

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA )
)
Plaintiff, )
)

Vv. ) No. 4:19-CR-00806-SNLJ
)
EDWARD WINGO )
)
Defendant. )

WAIVER OF SPEEDY TRIAL

 

Comes now Defendant EDWARD WINGO, and executes this Waiver of a Speedy
Trial, pursuant to Title 18 U.S.C.§ 3161, et seq. He further states to the Court that he has
been advised by counsel and understands that the statute, commonly known as the Speedy
Trial Act, provides time limits to insure that a criminal case proceeds to a conclusion without
unnecessary delay at any stage; that ordinarily a trial is scheduled to start not less than
thirty (30) days from the date when the Defendant first appeared with counsel or more than
seventy (70) days from the time the Defendant entered a plea of not guilty; and that certain
periods of delay would be excluded from calculating the seventy (70) day limitation.

Defendant further states to the Court that he believes the ends of justice would best
be served by executing said Waiver and such Waiver would outweigh the interests of the
public and the Defendant to a speedy trial.

WHEREFORE, Defendant moves this Court to accept this Waiver of his rights under

the Speedy Trial Act.

 

 
Case: 4:19-cr-O0806-SNLJ Doc. #: 52 Filed: 03/17/21 Page: 2 of 2 PagelD #: 216

Edward Wingo

DATED this 17th Day of March, 2021.

Respectfully submitted,

/s/ Tyler K. Morgan
TYLER K. MORGAN

Assistant Federal Public Defender
1010 Market Street, Suite 200

St. Louis, Missouri 63101
Telephone: (314) 241-1255

Fax: (814) 421-3177

E-mail: tyler_morgan@fd.org

ATTORNEY FOR DEFENDANT

CERTIFICATE OF SERVICE

 

I hereby certify that on March 17, 2021, the foregoing was filed electronically with the Clerk
of the Court to be served by operation of the Court’s electronic filing system upon Jillian
Anderson, Assistant United States Attorney.

Is! Tyler K. Morgan
TYLER K. MORGAN

Assistant Federal Public Defender
